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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 JOHN DOE,                                  §
                                            §
          Plaintiff,                        §
                                            §
     v.                                     § CIVIL ACTION NO. 1:17-cv-
                                            § 00732
     THE UNIVERSITY OF TEXAS AT             §
     AUSTIN; DR. GREGORY                    §
     FENVES, individually and in his        §
     official capacity,                     §
                                            §
          Defendants.                       §

DEFENDANTS’ NOTICE OF LACK OF SUBJECT-MATTER JURISDICTION GIVEN
                        CHANGE OF FACTS


          The purpose of this Notice is to advise the Court of recent factual

developments that deprive this Court of subject-matter jurisdiction over

claims seeking injunctive relief. Accordingly, Plaintiff’s requested

preliminary injunction hearing currently set for November 27 is now moot, as

are his procedural and substantive due-process claims asserted against

President Fenves in his official capacity.

I.        Background and change of facts.

          This case is brought by John Doe, a student who was suspended for

violating UT’s sexual misconduct policy. Based on his Section 1983 claims




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against President Fenves, in his official capacity,1 Doe seeks injunctive relief

that the Court “[re[s]train and enjoin the Defendants from enforcing a

suspension against him, restrain and enjoin the Defendants from continuing

to adjudicate Title IX appeals through the Office of the President, and award

John such other relief at law or in equity to which he may be entitled.” Dkt.

27, p. 25.

       Doe received a disciplinary hearing and won. He complains his due-

process rights were violated when the university adjudicated the appeal filed

by Doe’s accuser and reversed the hearing officer’s decision. Doe claims that

he will be irreparably harmed if he is not allowed back in school. He asks this

Court to order that UT lift the sanction against him.

       The parties’ discussions have been unfruitful in resolving this matter.

President Fenves and UT take due process seriously and believe UT’s process

is fair. Nonetheless, to avoid this litigation’s disruption to the university, UT

has reinstated John Doe as a student, lifted his suspension, and will route

the appeal to a third-party other than President Fenves for adjudication.

Thus, Doe’s status as a student is the same as it was before the university




1 Doe also seeks injunctive relief based on Texas Constitutional claims but for the reasons
explained in Defendants’ Motion to Dismiss, which Plaintiff conceded are correct, these
claims should be dismissed and this Court lacks jurisdiction over those claims based on the
Eleventh Amendment.
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issued the appellate decision that resulted in Doe’s suspension. He may

register for classes for the Spring semester. See Exhibit 1.

II.   This Court now lacks subject-matter jurisdiction over Doe’s
      procedural and substantive due-process claims against Fenves
      in his official capacity.

      Because Doe is no longer suspended, his request for an injunction is

now moot. The only basis Doe pleads for injunctive relief is his alleged due-

process claims under section 1983. In his Complaint, he does not articulate

against whom these claims are asserted. Doe already conceded that his 1983

claims against the University are improper and should be dismissed. Dkt.

34, p. 1. Additionally, the Court cannot grant injunctive relief based on Doe’s

claims against Fenves in his individual capacity because Fenves in his

individual capacity does not have the ability to lift a sanction. See Dkt. 32, p.

5-6 (citing cases and discussing why injunctive relief sought against Fenves

in his individual capacity is improper, including Anderson v. Texas Parks and

Wildlife Dept., 2014 WL 11281086, at *4 & n.14 (N.D. Tex. 2014), aff’d, 605

Fed. Appx. 339 (5 Cir. 2015) (unpublished) (dismissing claims for injunctive

relief brought against state official in individual capacity)). Because the

Section 1983 claims cannot exist against the University, the only claims that

could provide a theoretical basis for injunctive relief are those against Fenves

in his official capacity. Dkt. 31, p. 2-3. The only remedy available for claims

against state officials in their official capacity is prospective injunctive relief.

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Saltz v. Tennessee Dept. of Employment Sec., 976 F.2d. 966, 968 (5th Cir.

1992) (explaining Ex Parte Young).

       Here, the specific claims seeking prospective injunctive relief are due-

process claims. The “remedy for a denial of due-process is more process.”

University of Texas Medical School at Houston v. Than, 901 S.W.2d 926, 933

(Tex. 1995) (equating Texas and Federal due-process law and citing Perry v.

Sindermann, 408 U.S. 593, 603 (1973)). The university has now withdrawn

the suspension and will provide Doe with more process. Exhibit 1.

Accordingly, there is no justiciable controversy related to the claims seeking

injunctive relief. Doe’s due-process claims against Fenves in his official

capacity are now moot. He will receive additional process, and additional

process is all that this Court can grant.

III.   Doe lacks standing to assert his additional injunctive claims,
       and any claim about the additional process he will receive is
       not ripe.

       In addition to lifting his suspension, Doe asks that the Court “restrain

and enjoin the Defendants from continuing to adjudicate Title IX appeals

through the Office of the President.” But Doe lacks standing to dictate how a

university adjudicates appeals. And he fails to explain how this will redress

any injury particular to him. Further, to the extent Doe seeks a mandatory

injunction to dictate how his future appeal will be handled, that seeks an

advisory opinion from this Court that is beyond its jurisdiction. He has not

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suffered any injury associated with how the university may handle his appeal

in the future because the appeal has not yet been adjudicated. Indeed, he

may win on appeal. Thus, such a claim is not ripe.

      Article III of the Constitution limits the jurisdiction of the federal courts

to “Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. The reason for a

case-or-controversy limitation is to restrain the federal courts from enmeshing

themselves in deciding abstract and advisory questions of law. Accordingly,

any federal court plaintiff must have case-or-controversy “standing” to assert

a claim—specifically, “a plaintiff must show (1) an ‘injury in fact,’ (2) a

sufficient ‘causal connection between the injury and the conduct complained

of,’ and (3) a ‘likel[ihood]’ that the injury ‘will be redressed by a favorable

decision.’” Susan B. Anthony List v. Driehaus, 134 S.Ct. 2334, 2341 (2014)

(citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (some

internal quotation marks omitted)). Courts have also developed justiciability

doctrines, such as ripeness. United Transp. Union v. Foster, 205 F.3d 851, 857

(5th Cir. 2000); see also Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992).

Since standing and ripeness are essential components of federal subject-matter

jurisdiction, the lack of either can be raised at any time by a party or by the

court. Sommers Drug Stores Co. Employee Profit Sharing Trust v. Corrigan,

883 F.2d 345, 348 (5th Cir.1989); see also Cinel v. Connick, 15 F.3d 1338, 1341

(5th Cir. 1994).

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      To establish standing, a party must demonstrate: (1) an injury in fact;

(2) a causal connection between the injury and the conduct of which the party

complains; and (3) that it is likely, as opposed to merely speculative, that a

favorable decision will redress the injury. Lujan, 504 U.S. at 560–61. The first

requirement—that a plaintiff have sustained an injury-in-fact—“helps to

ensure that the plaintiff has a ‘personal stake in the outcome of the

controversy.’” Susan B. Anthony List, 134 S.Ct. at 2341 (citing Warth v. Seldin,

422 U.S. 490, 498 (1975) (internal quotation marks omitted)). An injury-in-fact

must be “‘concrete and particularized’ and ‘actual or imminent, not conjectural

or hypothetical.’” Id. (some internal quotation marks and citations omitted).

      Standing can be based on either actual or imminent harm. Pharmacy

Buying Ass’n, Inc. v. Sebelius, 906 F. Supp. 2d 604, 617-18 (W.D. Tex. Oct. 29,

2012) (internal citations omitted). But, as the Fifth Circuit has reiterated, a

plaintiff may seek injunctive relief with respect to threatened harm only if he

“shows a sufficiently high degree of likelihood” that he will be injured. Frame

v. City of Arlington, 657 F.3d 215, 235 (5th Cir. 2011). Plaintiff here bears the

burden of establishing standing. Susan B. Anthony List, 134 S.Ct. at 2342.

      Here, Doe asks the Court to “restrain and enjoin the Defendants from

continuing to adjudicate Title IX appeals through the Office of the President.”

In this case, Doe’s appeal will not be handled by the President. Therefore, he

fails to meet any of the three elements of standing. He has not suffered an

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injury in fact arising from the upcoming appeal determination, and such an

injury is not imminent. Moreover, there is no causal connection between any

injury and the President handling appeals because the President will not

handle Doe’s appeal. Last, any decision by this Court will not redress any

alleged injury by Doe. See Lujan, 504 U.S. at 560–61.

       Moreover, any claim by Doe that the UT disciplinary appeal process will

violate his due-process rights is not ripe.2 The Supreme Court has indicated

that courts should not entangle themselves in abstract disagreements about

administrative policies and practices. The Court wrote:

       “Ripeness is a justiciability doctrine designed ‘to prevent the
       courts, through avoidance of premature adjudication, from
       entangling themselves in abstract disagreements over
       administrative policies, and also to protect the agencies from
       judicial interference until an administrative decision has been
       formalized and its effects felt in a concrete way by the
       challenging parties.”




2From the briefing on the Motion to Dismiss, it appears Plaintiff contends UT violates due-
process on appeals because the appellate decision-maker conducts what Plaintiff refers to
as a “de novo” review instead of limiting the contours of appellate review. This issue is
discussed at length in Plaintiff’s Response to Defendants’ Motion to Dismiss and
Defendants’ Reply. Since that briefing, Defendants have found additional authority that
demonstrates the weakness in Doe’s argument. See Doe v. Baum, 227 F.Supp.3d 784, 797-
798 (E.D. Mich. 2017).

In Baum, the male accused student won at the investigative stage but lost on appeal. He
contended that on the appeal the university applied a “de novo” standard that deprived him
of due process. The court rejected that argument and concluded that the university did not
violate his due-process rights even where the university policy did not allow for a de-novo
review. Id.


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Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 807–08 (2003)

(citation omitted).

      Here, Doe has not yet gone through the new appeal. Thus, he has

suffered no injury. In the absence of any tangible legal injury for Plaintiff to

allege, Doe’s claims are not ripe for adjudication. Indeed, Doe may win on

appeal.

      Importantly, the contention that Doe may win on appeal is not just

theoretical. In fact, two years ago counsel for Plaintiff represented two male

UT students accused of violating UT’s sexual misconduct policy and sought to

obtain an injunction in Travis County District Court to change the hearing

process the students would undergo. Undersigned counsel for Defendant

argued to that Court that the issue was not ripe because the students had not

yet suffered an injury. The Court agreed and dismissed the cases. The male

students ultimately won their hearings and were not found responsible for

sexual misconduct.

IV.   Conclusion

      The bottom line is that President Fenves and UT have decided to allow

Doe to obtain a new appellate decision determined by a third-party other

than President Fenves—mooting the only due-process claims that could even

theoretically entitle Doe to injunctive relief. Thus, the Court lacks

jurisdiction over those due-process claims. The hearing set for November 27

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is now unnecessary. The only claims left in this lawsuit that have not been

abandoned or mooted are the Title IX claims against UT and the due-process

claims against President Fenves in his individual capacity. Both UT and

President Fenves in his individual capacity briefed these issues in their

Motions to Dismiss and they are ripe for this Court.


                                     Respectfully submitted,

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                                     Attorney General of Texas

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                                     Deputy First Assistant Attorney
                                     General

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                                     ANGELA V. COLMENERO
                                     Chief, General Litigation Division




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                                     /s/ Sean Flammer
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                                     COUNSEL FOR DEFENDANTS UT
                                     AND FENVES IN HIS OFFICIAL
                                     CAPACITY

                       CERTIFICATE OF SERVICE

       I hereby certify that on November 20, 2017 a true and correct copy of the
foregoing document was served via the Court’s CM/ECT system to the below-
listed counsel of record:

Brian Roark
Botsford & Roark
1307 West Avenue
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ATTORNEY FOR PLAINTIFF

                                     /s/ Sean Flammer
                                     SEAN FLAMMER




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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

JOHN DOE,                            §
                                     §
     Plaintiff,                      §
                                     §
v.                                   § CIVIL ACTION NO. 1:17-cv-00732
                                     §
THE UNIVERSITY OF TEXAS AT           §
AUSTIN; DR. GREGORY FENVES,          §
individually and in his official     §
capacity,                            §
                                     §
     Defendants.                     §




                          EXHIBIT 1
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                                    November 20, 2017


Brian Roark
Botsford & Roark
1307 West Avenue
Austin, TX 78701
Via Email: brian@brianroark.com

Dear Brian,

       John Doe’s lawsuit alleges that UT’s system of adjudicating student
disciplinary appeals is biased. UT is confident that everything occurred
properly in the appeal. President Fenves reviewed the file, including the
hearing transcript, the hearing officer’s determination, the investigation file,
and John Doe’s response to the appeal. President Fenves based his decision
solely on the merits of this case.

      Nonetheless, the university, after consultation with President Fenves,
believes the best path forward is to avoid the continued disruption to the
university and its processes created by ongoing litigation. Accordingly, in the
coming weeks, UT will arrange for a third-party other than President Fenves
to review the appellate record and make a final decision on Jane Doe’s
appeal.

      In the interim, John Doe’s suspension has been lifted, and the bar to
his registration is being lifted. All notations on his record/transcript of the
suspension are being deleted. His status as a student is the same as it was
the day before the appellate decision was made.

      Please let me know if you have any questions.

    Post Office Box 12548, Austin Texas 78711-254 8 (512 ) 463-2120 www.texasattorneygeneral.gov
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                            Sincerely,

                            /s/ Sean Flammer
                            Sean Flammer




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